                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MARYLAND


 AMERICAN COLLEGE OF
 OBSTETRICIANS AND
 GYNECOLOGISTS, on behalf of its members
 and members’ patients,
 COUNCIL OF UNIVERSITY CHAIRS OF
 OBSTETRICS AND GYNECOLOGY, on
 behalf of its members and members’ patients,
 NEW YORK STATE ACADEMY OF
 FAMILY PHYSICIANS, on behalf of its
 members and members’ patients,
 SISTERSONG WOMEN OF COLOR
 REPRODUCTIVE JUSTICE COLLECTIVE,
 on behalf of its members and members’
 patients, and
 HONOR MACNAUGHTON, M.D.,

        Plaintiffs,
                                                        Civil Action No. TDC-20-1320
        v.

 UNITED STATES FOOD AND DRUG
 ADMINISTRATION,
 STEPHEN M. HAHN, M.D., in his official
 capacity as Commissioner of Food And
 Drugs, and his employees, agents and
 successors in office,
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES and
 ALEX AZAR, J.D., in his official capacity as
 Secretary, United States Department of
 Health and Human Services, and his
 employees, agents and successors in office,

        Defendants.



                                           ORDER

       Having reviewed the States’ Notice of Intent to File Motion to Intervene of Right, ECF No.

77, the Court finds that where there is no basis to supplement a motion that has already been
decided, the States may file a Motion for Reconsideration of the prior ruling by Monday, July 6,

2020. As agreed to in the Notice, the States will attach their proposed Answer to the Amended

Complaint and not raise new arguments or offer additional briefing. Any opposition to the Motion

for Reconsideration shall be filed by Thursday, July 9, 2020. No reply brief will be

permitted. The filings shall be limited to no more than three pages, exclusive of the proposed

Answer.




Date: June 30, 2020                                 /s/ Theodore D. Chuang
                                                   THEODORE D. CHUANG
                                                   United States District Judge




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